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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



                                                        Case No. 3:16-md-2738 (MAS)/(RLS)

  IN RE: JOHNSON & JOHNSON TALCUM                                 MLD Case No. 2738
  POWDER PRODUCTS MARKETING,
  SALES PRACTICES AND PRODUCTS                              [FILED ELECTRONICALLY]
  LIABILITY LITIGATION
                                                              Return Date: January 2, 2024

                                                           CERTIFICATE OF SERVICE


           I, Jeffrey M. Pollock, of full age, do hereby certify as follows:

           1.     I am a partner with the law firm of Fox Rothschild LLP, counsel for Andy D.

 Birchfield, Jr., Esq. and Beasley Allen Crow Methvin Portis & Miles, P.C. (Beasley Allen) in this

 action.

           2.     On this date, copies of the foregoing, Declaration of Jeffrey M. Pollock, Esq. with

 Exhibits, Brief, Declaration of Andy D. Birchfield, Jr. Esq., Declaration of James F. Conlan,

 Declaration of John J. Gasparovic, and this Certification of Service were electronically filed with

 the Court through ECF and served to all parties in interest.

           I certify that the foregoing statements made by me are true. I am aware that if any of the

 foregoing statements made by me are false, I am subject to punishment.
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                                    FOX ROTHSCHILD LLP
                                    Attorneys for Andy Birchfield and Beasley Allen


                                    By: /s/ Jeffrey M. Pollock
                                            Jeffrey M. Pollock



 Dated: December 19, 2023




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